             Case 6:18-bk-00263-KSJ     Doc 86    Filed 05/02/18    Page 1 of 3



                                    ORDERED.


     Dated: May 01, 2018




                            U.S. BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  Orlando Division
                               www.flmb.uscourts.gov
In re:

EXCELETECH COATING AND                                  Chapter 11
APPLICATIONS, LLC,                                      Case No. 6:18-bk-00263-KSJ

                      Debtor.
                                          /

          CONSENT ORDER AMENDING (i) PRELIMINARY ORDER
       GRANTING DEBTOR-IN-POSSESSION’S EXPEDITED AMENDED
          MOTION FOR AUTHORITY TO USE CASH COLLATERAL
    NUNC PRO TUNC TO JANUARY 17, 2018 [DOCKET NO. 28], (ii) RESOLVING
       ON AN INTERIM BASIS THE FUNDS’ OBJECTION TO DEBTOR’S
           FINAL ORDER AUTHORIZING DEBTOR TO USE CASH
     COLLATERAL [DOCKET NO. 69], AND (iii) SETTING FINAL HEARING

         THIS MATTER is before the Court upon the Debtor’s Expedited Amended Motion for

Authority to Use Cash Collateral Nunc Pro Tunc to January 17, 2018 (the “Motion”) [Docket

No. 20]. On February 2, 2018, this Court entered its Preliminary Order Granting Debtor-in-

Possession’s Expedited Amended Motion for Authority to Use Cash Collateral Nunc Pro Tunc to

January 17, 2018 and Setting Final Hearing (the “Initial Order”) [Docket No. 28]. Creditors,




2145935v1
              Case 6:18-bk-00263-KSJ               Doc 86       Filed 05/02/18        Page 2 of 3



International Painters and Allied Trades Fringe Benefit Funds1 (the “National Funds”) and

Southern Painters District Council 78 Fringe Benefit Funds2 (the “Local Funds”)(hereinafter,

collectively, the “Funds”) filed their Objection to Debtor’s Final Order Authorizing Debtor to

Use Cash Collateral (the “Objection”) [Docket No. 69]. The parties have now stipulated and

agreed to entry of this Order and the Court is otherwise fully advised in the premises. Now

therefore, it is hereby ordered as follows:

         1.       The Motion is granted on a continuing preliminary basis as set forth in the Initial

Order and to the extent provided herein.

         2.       The budget attached as Exhibit A to the Initial Order is hereby amended nunc pro

tunc to January 17, 2018 to set forth an authorized monthly line-item expense for fringe benefit

contribution payments to the Funds in the current estimated amount $12,000.00 per month,

subject to further adjustment, upward or downward, upon the Debtor’s and the Funds’

confirmation of the actual amounts necessary to pay such expense, or upon further order of the

Court.

         3.       The Initial Order is hereby amended nunc pro tunc to January 17, 2018 to allow

Debtor to use cash collateral to pay fringe benefit contributions to the Funds in the amounts set

forth in Exhibit A to the Initial Order (as amended by this Order) in addition to such other

expenses authorized by the Initial Order.

         4.       Both Debtor and the Funds hereby reserve all of their respective rights, claims,

and/or defenses concerning Debtor’s obligation to pay pre- and/or post-petition fringe benefit

contributions to the Funds, with any and all such rights, claims, and defenses being fully

1
  The International Painters and Allied Trades Fringe Benefit Funds consist of: the International Painters and Allied
Trades Industry Pension Fund, the Finishing Trades Institute, the Political Action Together Fund and the Painters
and Allied Trades Labor Management Cooperation Initiative.
2
  The Southern Painters District Council 78 Fringe Benefit Funds consist of: the Southern Painters Welfare Fund and
the District Council 78 Finishing Trades Institute.


2145935v1
            Case 6:18-bk-00263-KSJ         Doc 86     Filed 05/02/18     Page 3 of 3



preserved and otherwise unimpaired by the provisions of this Order and the Initial Order.

       5.      Continued Hearing. This Order and the Initial Order are granted on a

preliminary basis, with a further hearing on this motion, and any objection, continued to June 13,

2018, at 2:45 p.m. before the Honorable Karen S. Jennemann at George C. Young Courthouse,

400 West Washington Street, 6th Floor, Courtroom 6A, Orlando, Florida 32801.

       6.      Debtor shall amend its budget as was attached as Exhibit A to the Initial Order to

cover the time period from the Petition Date (January 17, 2018) to the date of hearing to be set

by the Court as referenced in paragraph 5 above.

       7.      Except as provided above, all other terms and conditions of the Initial Order

remain in full force and effect.



Attorney, Cynthia E. Lewis, is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




2145935v1
